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                                                                        FILED IN OPEN COURT
                                                                 & U.S.&.C. -Atlanta



                                                                         OCT 262022
                                                                                 8ER, Ctetk
                                                                      By:j
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                Criminal Action No.
         V.

                                                1:21-CR-00143-ELR
   VICTOR HILL


                                  VERDICT

                                   Count One


As to Count One of the Indictment/ we/ the jury/ unanimously find Victor Hill:


              . Guilty _ Not Guilty


Only if "Guilty/" please answer the following question:


Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Raheem Peterkin?


              .Yes _No
                                   Count Two


As to Count Two of the Indictment/ we/ the jury/ unanimously find Victor Hill:


     ^ Guilty _ Not Guilty

Only if Guilty/" please answer the following question:


Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Desmond Bailey?


              .Yes _No
     Case 1:21-cr-00143-ELR-CCB Document 94 Filed 10/26/22 Page 2 of 4




                                    Count Three


As to Count Three of the Indictment/ we/ the jury/ unanimously find Victor Hill:


          Guilty _ Not Guilty

Only if "Guilty/" please answer the following question:


Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Joseph Arnold?


             .Yes _No




                                   Count Four


As to Count Four of the Indictment/ we/ the jury/ unanimously find Victor Hill:


          . Guilty _ Not Guilty


Only if Guilty/ please answer the following question:


Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Chryshon Hollins?

             Yes             _     No
     Case 1:21-cr-00143-ELR-CCB Document 94 Filed 10/26/22 Page 3 of 4




                                   Count Five


As to Count Five of the Indictment/ we/ the jury/ unanimously find Victor Hill:


      . Guilty v Not Guilty


Only if//Guilty/7 please answer the followmg question:


Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Joseph Harper?


             Yes _No




                                    Count Six


As to Count Six of the Indictment/ we/ the jury/ unanimously find Victor Hill:


          . Guilty _ Not Guilty


Only if Guilty/ please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Glenn Howell?


        ^ Yes _No
     Case 1:21-cr-00143-ELR-CCB Document 94 Filed 10/26/22 Page 4 of 4




                                  Count Seven


As to Count Seven of the Indictment/ we/ the jury/ unanimously find Victor Hill:


         . Guilty _ Not Guilty


Only if Guilty/ please answer the following question:

Has the jury unanimously found that this offense caused physical pain and
resulted in bodily injury to Walter Thomas?

       ^     Yes _ No




   SO SAY WE ALL.

      Signed and dated at the United States Courthouse/ Atlanta/ Georgia/ this
2J3L day of October/ 2022.



                       QLUj
   Foreperson's Signature



      •Sfe^L <^)^f
   Forepersori^Printed Name
